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 LAW OFFICES OF PERRY de MARCO, SR.
BY: PERRY de MARCO, Sr., ESQUIRE
IDENTIFICATION NO: 22640
317 South 13th Street,
Philadelphia, PA 19107
(215) 563 - 8000




                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA



     UNITED STATES OF AMERICA                        :
                                                     :
                      vs.                            :   CRIMINAL NO. 21-cr-00232(CRC)
                                                     :
              Richard Michetti                       :
                                                     :




                   DEFENDANT'S SENTENCING MEMORANDUM


 Richard Michetti by his attorney Perry DeMarco, Sr Esquire, hereby respectfully submits this

Sentencing Memorandum for consideration by this Honorable Court.

       When Richard Michetti traveled to Washington D.C. on January 5th, 2021, he did so to

attend a Trump rally. He did not go there with the intent of committing a Federal crime. Instead

he went with the sole intention of attending a Trump Rally intended to protest the presidential

election. He was not aware of the events that would follow. At the conclusion of the rally,

President Trump urged his followers to march with him to express their anger and frustration

with Congress. The President never joined the march. A fact that was not lost on the Defendant.

Nevertheless at that point, the Defendant’s state of mind was not criminal, rather he truly



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believed that the election had been manipulated by the Democrats and that the Biden victory

was unjust. He was exercising his First Amendment right to protest peacefully. That state of

mind changed and became criminal when in the fury and heat of the moment he made his own

individual decision to illegally enter the Capitol in an attempt to persuade the Congress to stop

the vote. Without offering an excuse for this conduct it clearly was not made under cold,

calculating and premeditated circumstances. There is absolutely no evidence to prove that he

traveled to Washington with the intent of storming the Capitol. His decision was made in an

instant and rose from his admitted pain and disgust and his fervent belief that his country was

moving in a horrible direction and that the Presidential election had been stolen. He was not part

of an organized group. He was not part of a criminal organization set on destroying the

government and willing to kill and do physical harm regardless of the consequences. In fact as a

good citizen, he strongly denounces such organizations. His life is corroborative of this. Prior to

his arrest in this case, he lived a completely parochial life in the City of Philadelphia and its

suburbs.

      Richard Michetti is 29 years of age having been born on September 14, 1992. His father,

Richard Michetti Jr and his mother, Ruth Rodrigues never married. Although his parents shared

custody, he was primarily raised by his mother in various locations in South Philadelphia. He

attended Mastery Charter High School and eventually obtained his GED from The Community

College of Philadelphia in 2009. Mr. Michetti has a sister Nena who is 14 years of age and who

lives with her mother. He also has a step brother, Tony, 21 years of age. Tony lives with his aunt

Christina. He reports that he is on good terms with his immediate family and he also has an

extended family of approximately 25 people with whom he enjoys a good relationship.




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         Mr Michetti stands at 5”6 tall and weighs 160 pounds. He reports that he has suffered

with Asthma since age 12, which requires him to use an inhaler. He states that he although at

one point he abused percoset he completely stopped that behavior in 2020. He does not

consume alcohol.

Regarding mental status, Mr. Michetti reports that he has never necessitated treatment for

psychological or psychiatric problems. He has never undergone surgery and except for the

asthma medication, he does not require daily medication. In November of 2021 he decided to

start Anger Management therapy (not court ordered), in order to address any underlying

issues. The therapist is Ann Best PSY, 300 South Chester Road, #302, Swarthmore, PA

19081.

         Regarding employment, Mr. Michetti advised that at age 14 he began working in

restaurants as a busboy and he continued with that employment until he was approximately

22 years of age. In 2014, he secured employment with Danella Construction Company

located in Plymouth Meeting, Montgomery County, Pennsylvania. While employed with

Danella he was accepted as a member of Philadelphia Laborers Union, Local 57. He

continues in this employment to the present.

His usual work day consists of rising at 5:30am, driving to the location of the construction site

where the company is operating, and concluding his work day between the hours of 3:30- 6:30

pm. The actual physical work is referred to as construction of butt fused joints on composite gas

pipes. It should be noted that gas runs through these pipes at very high pressure and there is a

constant risk of explosion. Mr Michetti has never in the course of his

employment received either an employer or union reprimand. He is a member in good

standing of Local 57.

           On June 1, 2019 Mr. Michetti made a settlement on his home on Clymer Lane for

which he paid $165,000 dollars. Of that amount, $145,000 was mortgaged; he paid the




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balance from $20,000 dollars in savings. Subsequent to the death of his maternal

grandmother, Anna Michetti, Mr. Michetti invited his father to come and live with him on Clymer

Lane.

        Mr. Michetti met Jessica Stroup in July of 2017 at Barnabes bar in Ridley Township

Pennsylvania. They started to date and in January of 2018 Jessica Stroup became

pregnant and gave birth on September 1, 2018 to Gianna Michetti.

On June 1, 2019 they were living at Jessica Stroup's parents home located at 3640 Taylor Ave

Drexel Hill Pennsylvania. Mr. Michetti advises that Jessica admitted to him that for

approximately 13 years she had been suffering with anxiety and depression for which she

takes medications on a daily basis. For a period of time, she was regularly seeing a therapist.

        When Jessica became pregnant with Gianna, she immediately stopped her medications

which resulted in serious mood swings. After she gave birth to Gianna on September 1, 2018

she began to suffer from a combination of anxiety and postpartum depression. This resulted in

her becoming withdrawn, demanding and instigating arguments from time to time. However,

overall her relationship with Mr. Michetti was generally very good and they continued to

communicate and co-parent their daughter. Furthermore when Mr. Michetti would get home,

tired and weary from his work day, he would pitch in and do all of the necessary chores, feeding,

cleaning, and changing diapers that are required of a father and in order to give Jessica a rest.

It came to a point however when the couple believed it would be best to separate. Throughout

the period of time of his intact relationship with Jessica Stroup he offered to buy her a car, he

offered to send her to manicure school, he provided her with a credit card, and he took trips and

vacations with her and their child to Atlantic City and other vacation spots, campgrounds, etc.

He also advised that prior to buying Clymer Lane he wanted to go back to his roots and live in

South Philadelphia. The couple searched for a home together for 6 or 7 months however

Jessica insisted that she wanted to live in Delaware County, Pennsylvania and Richard




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conceded. In late July of 2019 they decided that it would be best if they separated. Mr. Michetti

remained at Clymer Lane and Jessica moved back with her parents but the couple were still

compatible and talking. They would talk 3 or 4 times a day, not only to permit Mr. Michetti to

maintain contact with his daughter, who is now 4 years old but also they talked about many

subjects including politics. Politics was indeed a regular subject with Mr. Michetti and Jessica. In

these discussions, Michetti was a Trump supporter and Jessica regarded herself as politically

neutral. In spite of any political disagreements, they remained very friendly however just before

Christmas he and Jessica had started to have differences about the custody arrangement and

on or about January 8, 2021 he was served with a Protection from Abuse Petition (PFA).

Notwithstanding the PFA and the allegations contained therein, even as late as January 4th

2021 Mr. Michetti and Jessica had made arrangements to have dinner at Dovious restaurant in

South Philadelphia together however he was forced to work late and could not attend.

Additionally, in late October of 2020 Mr. Michetti met a new girlfriend Kay Pelgriono. He advises

that when he told Jessica about this new relationship, her attitude toward him changed

dramatically. Nevertheless, it should be noted that even while I was interviewing him on

September 4, 2021, in preparation for his case, he received a FaceTime call from Gianna, his

daughter. He advised that Jessica organized the FaceTime which she was not supposed to do

pursuant to the custody agreement that has now been formalized. He said that Jessica's Mother

was given this responsibility. However this is corroborative of the fact that Jessica apparently

has no hesitation in continuing to communicate with Mr. Michetti, notwithstanding the specific

terms of the custody agreement.

        Mr. Michetti reports that he is totally involved with family activities involving his

cousins, his sister, and his own child. These activities include family vacations to Disney

World. The family also has a campground near Wildwood, NJ, where they spend a lot of time

together. Mr. Michetti also faithfully attended family birthday parties, barbecues and holiday

events. Since the time of his arrest, Mr Michetti has been on house arrest and has never been


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the subject of a violation of house arrest conditions. Furthermore, this court recently granted

permission to Mr. Michetti to be relieved of the conditions of House Arrest on the weekend so

that he could travel to New Jersey to spend time with his mother and daughter. He has done

this for approximately seven weekends now and there has never been a violation of the

conditions of that special release.



        It would be disingenuous to regard Mr. Michetti as a criminal but for his conviction in

the instant case. I submit that Mr.Michetti has spent his entire life being a good person, a good

man and a good father who on one particular day committed a criminal act. And now he

justifiably stands before this court for sentencing. The court in sentencing must consider the

safety of the public. Mr. Michetti does not pose a risk and this regard. The court must also

consider due punishment for the defendant and that punishment should indeed demonstrate

to others that the conduct exhibited by this client in this case will not go un-punished. Without

stating that Mr. Michetti should be entitled to a non-custodial sentence, he has indeed

demonstrated that he is an excellent candidate for a non-custodial sentence since from the

time of his arrest he has conducted himself as a law abiding citizen, has continued to be a

good father and family member, and has successfully demonstrated that when the conditions

of release are relaxed he does not violate those rules and regulations and is not one to take

advantage of the same. Mr. Michetti, asks that the Court consider that since Jessica does not

have employment he is the sole provider for his daughter who will undoubtedly suffer if that

support is interrupted. Mr. Michetti has already learned his lesson and there is no evidence to

suggest that he is likely to engage in this conduct again. He has reached out to his Church

and family for support. attached hereto are character letters written on his behalf. These

letters were not written by people who simply know the Defendant, rather these people love

and respect him and all have rallied to his side. Also attached is Mr. Michetti’s own statement,




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written completely without the assistance of counsel. In fact this counsel did not edit or change

that statement in any way. It speaks for itself. (See attached Defendants Letters in exhibit: A)

        For all of the reasons set forth herein, the Defendant respectfully requests only that

the sentence imposed be fair and just considering the totality of the circumstances

surrounding this very serious matter.


                                                          RESPECTFULLY SUBMITTED:

                                                          PD8119
                                                          PERRY de MARCO SR., ESQUIRE




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                               CERTIFICATE OF SERVICE

       On this 1st day of September 2022, a copy of the foregoing was served on counsel of

record for the Government via the Court’s Electronic Filing System.




                                            LAW OFFICES OF PERRY de MARCO, SR.
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See attached exhibit A:




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Richard Michetti

607 Clymer Lane

Ridley Park, PA 19078

(267-437-6743)

Honorable Christopher R. Cooper,

      Your Honor, first and foremost I want to express how sorry I am for my actions
that day. It was only when I plead guilty in Your Honor’s court on May 31st, did I find
peace. I respectfully submit myself to any judgement that is handed down from Your
Honor’s court. I realized since then how my actions that day hurt a multitude of people
from law enforcement officers (whom I love and have the utmost respect for), their
families, average Americans who were enraged and fearful by the events that occurred
that day, to my daughter, and family. I want to apologize for the embarrassement and
shame I have caused them, and for the time and memories we could have shared
together and will never get back.

       Following that day, even before my arrest, I started to reflect on myself. For the
first seven or eight months I focused a lot on myself and how I could change the
negative characteristics I saw in me. This was not easy for me because I was hesitant to
take responsibility for my part that day and accept the negative traits I displayed. My
anger was out of control and for a period increased, especially when my daughter was
kept from me after my arrest. In this time, I would like to share my personal story with
the court and shed some light on the person I worked extremely hard to become, and not
the person I was on January 6th.

     I was born in South Philadelphia in a working -class Italian neighborhood. Even
though my parents were not together, I shared equal time with both sides and stayed
family oriented. This included family vacations, and spending holidays together. Family
and faith were very important growing up. Both of my grandfathers were avid church
goers and the rocks of both of my families. They were blue collar union men that I
looked up to. They were gentle and loving, they always put others first, but at the same
time were rugged and very hardworking. They were my inspiration.

      My mother worked various jobs usually two or three at a time. My father is a
carpenter in the Carpenters Union of Philadelphia. I remember attending church with my
family at least twice a week from when I was six or seven years old. Growing up I was
involved with sports. I played football, baseball, and basketball for various leagues.
When I was fourteen or fifteen, I started to pull away from sports and my family and put
my friends first. This was the beginning of me drifting away from my roots and core
values. I officially dropped out of school in the 10th grade back in 2009. I began to live
with my grandparents after that and received my GED in November 2009. Around 18
years old I began to experiment with Percocet pain pills and became addicted. After not
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realizing who I had become, I took my parents’ advice and checked into a rehabilitation
center October 2012 in Port St. Lucie, Florida. After working as a bus boy and other
various jobs, I was hired at Danella Construction as a Union Laborer in September 2014.
I never worked physical labor before and did not realize the physical toll it takes on your
body. At times I thought about quitting, but realized this career was a crucial part to my
goal of starting a family. The following year in September 2015, my dad’s father was
diagnosed with lymphoma. (My mom’s father had already passed away in February
2009, from ALS, and I was not there for him like I should have been.) I wanted to do
everything I could to be there for the man who did everything for me. On November 17,
2015, six days after his 84th birthday, my grandfather passed away at home with his
family. His passing was devastating to me and my family.

       In the summer of 2017, I met my daughter’s mother. In January 2018, she became
pregnant and I moved in with her and her parents shortly after. On September 1, 2018
my daughter was born; Gianna Marie Michetti. This was the best day of my life! My
daughter’s birth reminded me of how important family really is. In June of 2019, I
purchased a home in a nice neighborhood with a great school district for my daughter. In
August of 2019, my daughter’s mother and I seperated. This hurt me tremendously, as I
did not see my daughter every day and my hopes of having a family were crushed. Even
though we seperated, we remained really good friends and continued to do family
activities with our daughter. When the pandemic occurred, I had my daughter four days
out of the week but being home alone the other three days was very depressing. Around
the time of George Floyd’s murder, my mother’s neighborhood and my daughters’
mother’s neighborhood was being targeted with threats of violence. The thought of my
mother, sister, and daughter not being safe drew a lot of anger and fear out of me. A few
months later, I believed the election was unfair at the time and even more fear and anger
kicked in. From an early age I knew our country was great due to the people having a
voice and having a right to display their concerns through voting. So on January 6th, I
went to Washington DC to show my support for the people who were concerned about
whether the vote was fraudulent or not. It was not until the end of the former President’s
speech that I knew about the protest occurring at the Capitol. Unfortunatley, when I saw
what was happening, I did not leave, instead I just got angry, and just like the rest of the
people there I wanted what I thought was “justice”.

      It is extremely hard to talk about and or watch videos from that day because it
reminds me that I was there behaving and condoning certain actions. Even though if I
thought the vote was not fair, it does not give anyone the right to act in such a way.
After January 6th I realized I needed to make major improvements and take the correct
steps to control my anger. I began going back to church with my mother and began to
read the Bible. I came across two versus that stuck out to me that showed me how wrong
the people and I were for our actions that day. Romans 13 states “let every soul be
subject unto the higher powers. For there is no power but of God: the powers that be are
ordained of God. Whosoever therefore, resiseth the power, resiseth the ordinance of
God: and they that resist shall receive to themselves judgement.” And 1 Peter: “submit
yourselves to every ordiance of man for the Lords sake; whether it be to the King, as
supreme: or unto governors, as unto them that are sent by him for the punishment of
evildoers, and for the praise of them that do well.” These verses really convicted me and
I began to accept responsibilty for the role I played that day. I completed ten anger
management classes and though I was never accused by my daughter’s mother of any
physical violence, she did get a PFA against me for verbal abuse on January 8th, 2021.
Which then also led me to take a twenty-four hour “Batterer Intervention” class.
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Unfortunately, it took these tragic events for me to realize that my anger was out of
control and started to negatively affect people around me. The person on display on
January 6th is not the same person Your Honor sees here today. I am not perfect but I
worked very hard to make the changes in my life that were harmful and negatively
impacting not only in my life but others as well. I look forward to continue to working
every day on being the type of man my grandfathers were and the examples they proved
to be for myself and my family.



Thank you for taking your time to read this.



Sincerely,



Richard S. Michetti
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To the Honorable Christopher R. Cooper,                                           June 19, 2022



My name is Chris Esgro, I live in Glassboro NJ. I am a career firefighter, and EMT and a father of 3. I am
writing this letter on behalf of my nephew Richard S. Michetti (Richie). I met Richie when he was 9 years
old- he is my wife’s nephew. Throughout those years he has always been an upstanding kid and then I
watched him grow into an upstanding man and dedicated father. The relationship between our family
and Richie is solid and we are so proud of him and his accomplishments. He is no stranger to hard work
and what it means to be a family man. He has always been a “give it your all” type of person. As a
nephew, a son, a brother, a friend and especially as a father, he gives it his ALL! He always does his best
and puts other people first. In no way is he ever harmful, selfish, or incompetent as a human being.

 I am thankful to have gotten to know Richie over the years and to also be an example for him as his
uncle. I also appreciate his willingness to help and be there for my kids through the years. He is well
liked and well respected not only in our family but in our church family as well. He is honest, generous,
hard-working, and responsible. These positive attributes do not go unnoticed, especially since so many
people his age lack these traits, but he is one of a kind.

We do not get a rewind button on life. We can however learn from mistakes and strive to be better. I
am happy to talk in person or do anything necessary to help Richie. I appreciate you reading this letter,
thank you kindly.



Sincerely,



Chris Esgro

(856) 889-1324

Chris17218@gmail.com
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June 20, 2022

Your Honorable Christopher R. Cooper,

My name is Carol Morrone. I am writing this letter on behalf of my husband Al Morrone
and I. We are both 75 years old. I currently work as a Rasmas Facilities Manager at
Methodist Hospital for the past 43 years. My husband, Al, is a retired Veteran of the
U.S. Airforce. We are both proud members of Third Baptist Church in Philadelphia
where we had the pleasure of meeting Rich when he began to attend our church about 16
months ago with his Mother and Sister.

Very shortly after, Rich began to volunteer and lend his time at our church. Given his
age, and his willingness to help, it proved very beneficial to our church we were able to
complete much needed renovations throughout our church. Rich is always willing to
help and makes himself available when we need him. Some of these tasks include trash
removal, painting, concrete work, and cleaning. Rich has been a blessing to our church,
to say the least.

The past 16 months being on house arrest and having his daughter taken away from him
has been a tremendous hardship on him as well as all of us. Recently, however, Rich
was awarded visitation with his daughter, Gianna and brought her to church a handful of
times. It is a joy to watch them be reunited, she truly is his whole world. At Gianna’s
age it is so important to have a loving father in her life. His kindness, patience and love
is remarkable, there is nothing he wouldn’t do for his daughter.

Thank you for your time.

Sincerely,



Carol Morrone and Al Morrone
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Jessica Stroup
3640 Taylor Ave
Drexel Hill PA 19026



August 23, 2022


      Dear Honorable Judge Christoper R. Cooper,

      My name is Jessica Stroup. I’m Richard Michetti’s Daughter’s Mother. I have
      known Richard for five years now. I’m aware of the charges committed by
      Richard Michetti and his upcoming sentencing hearing.

      Rich and I share a four year old beautiful vibrant little girl. We are currently
      working through a custody situation , Our daughter Gianna has recently
      started weekend visitation with Richard. I know Richard and Gianna look
      forward to their time together. I’m concerned about how his long absence will
      effect our daughter.

      I fully understand the seriousness of his crimes but I ask that while
      sentencing him that you may consider alternative forms , possibly serving his
      sentence on house arrest so he can continue to build a relationship with our
      daughter and be able to support her.

      I thank you for your time and understanding.

      Regards,
      Jessica Stroup
